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           Olivia Y., Jamison J., et al. V. Phil
              Bryant, Donald Taylor, et al.

                                 Tracy Malone
                               November 28, 2018




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      1                           TRACY MALONE,

      2    having been first duly sworn, was examined and

      3    testified as follows:

      4    EXAMINATION BY MS. LOWRY:

      5          Q.    Would you state your name for the

      6    record, please?

      7          A.    Tracy Malone.

      8          Q.    Have you -- were you ever employed by

      9    Mississippi Department of Child Protective

     10    Services?

     11          A.    Yes.

     12          Q.    And what was your last position at

     13    MDCPS?

     14          A.    I was the Deputy Commissioner of Child

     15    Welfare.

     16          Q.    And how long, altogether, were you

     17    employed in different positions by MDCPS?

     18          A.    Approximately 28 years.

     19          Q.    And what -- just tell us what positions

     20    you held.    You don't have to break it down by

     21    time.

     22          A.    I started out, as, I actually did my BFW

     23    internship with the agency, graduated, and two

     24    weeks later went to work as a social worker in the

     25    county, did that for several years, was a regional




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      1                Do you think he was helpful to you in

      2    your efforts to retain more workers?

      3          A.    I would agree with that in some ways.

      4          Q.    In other ways not?

      5          A.    I mean, I don't think he was not

      6    helpful.    I don't think that -- you know, I don't

      7    think that it was -- I don't think it was anything

      8    that was not helpful.

      9          Q.    Are you represented today by counsel?

     10          A.    Yes.

     11          Q.    And did there come a time when you

     12    received a call before you had represent -- maybe

     13    a retention agreement with counsel, when you

     14    received a call from me?

     15          A.    Yes, I had a voicemail.

     16          Q.    And did you return the call?

     17          A.    No, I did not.

     18          Q.    And when you left the agency, the

     19    announcement said that you had retired.

     20                Did you, in fact, retire?

     21          A.    I did, yes.

     22          Q.    You retired from MDCPS.

     23                Did you take another job?

     24          A.    Yes.

     25          Q.    Okay.     And what is the job that you have




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      1    taken?

      2          A.    I have taken a job as a senior associate

      3    with the Center for Support for Families at Allied

      4    Government Solutions.

      5          Q.    And is that a full-time job?

      6          A.    Yes.

      7          Q.    So you retired from MDCPS, but you did

      8    not retire from child welfare; is that right?

      9          A.    That's correct.          I took several months

     10    off and then started another job.

     11          Q.    So you continue to work in the area of

     12    child welfare?

     13          A.    Yes, I do.

     14          Q.    Are you concerned that your testimony

     15    here today may have some sort of a negative impact

     16    on the current job you have?

     17          A.    No, not at all.

     18          Q.    Did you, in fact, leave MDCPS because

     19    you were discouraged about the direction in which

     20    the agency was headed?

     21                MS. RACHAL:      Objection, beyond the

     22          scope, continuing objection.

     23          Q.    (By Ms. Lowry)      You have to say a word.

     24    Shaking your head doesn't work.

     25          A.    Okay.     No.




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      1          Q.    So you were perfectly happy at MDCPS?

      2          A.    I -- it was        it was the right time for

      3    me to retire and move to another career in my

      4    life, so --

      5          Q.    Did you have plans to retire at that

      6    time if, for example, Commissioner Chandler had

      7    stayed?

      8                MS. RACHAL:      Again, objection.

      9                THE WITNESS:      I can't -- I don't know.

     10          I mean the -- I had plans to retire sometime

     11          between 28 and 38 -- 30 years, and it was 28

     12          years, so --

     13          Q.    (By Ms. Lowry)      Did you express

     14    dissatisfaction about Commissioner Dickinson's

     15    leadership before you left the job?

     16                MS. RACHAL:      Objection.      Continuing

     17          objection.

     18          Q.    (By Ms. Lowry)       So you have to -- again,

     19    shaking your head doesn't work.

     20          A.    No, I'm trying to think how I would

     21    respond to that.       I did not leave the job because

     22    of Commissioner Dickinson.           That is not why I left

     23    the job.

     24          Q.    Did you leave the job because of the

     25    direction in which the agency was headed?




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      1                MR. JONES:      That's the same question.

      2          She's answered it.

      3                THE WITNESS:      I mean, I feel like I've

      4          answered that question.         The -- the agency,

      5          itself, is not why I left the job.              I would

      6          not have left the job if I was not -- if I

      7          did not have 28 years and was eligible to

      8          retire with, you know, the benefits that I

      9          was able to retire with.         I would probably

     10          still be there, but I -- it was the right

     11          decision for me to leave at the time

     12          personally and professionally, so --

     13                MS. LOWRY:      We'll take a break.

     14                (A short break was taken.)

     15          Q.    (By Ms. Lowry)      I'd like to show you a

     16    document that we previously marked as Exhibit 5.

     17    This is a document that is from Taylor Cheeseman

     18    to Kris Jones.

     19                And you know who Kris Jones is, right?

     20          A.    Yes.

     21          Q.    And this is a document about, "Further

     22    hiring should be limited to essential personnel"

     23    -- I'm reading from the next to last sentence

     24    "and replacing separations from MDCPS.                Until

     25    further notice, no hires may be finalized until




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      1          Q.    (By Ms. Lowry)      So you were concerned

      2    about the fact that staff -- more staff would get

      3    discouraged and perhaps leave; is that right?

      4          A.    That certainly could be             it could

      5    affect retention in that way.

      6          Q.    And had you been concerned about that

      7    from shortly after the time Commissioner Dickinson

      8    arrived?

      9          A.    Not initially, no.

     10          Q.    Then when were you -- when did you

     11    become concerned about that?

     12          A.    At the point that -- I don't recall

     13    dates.     It was at some point in the legislative

     14    session, so it would have been after the first of

     15    the year at some point when there was discussion

     16    about the budget issues and inability to hire

     17    staff, so

     18          Q.     So when you were saying that you didn't

     19    leave because of any individuals, was it that you

     20    did leave and you decided to leave because you

     21    were concerned about morale at the agency or that

     22    was one of your concerns?

     23                 MS. RACHAL:     Objection.

     24                 THE WITNESS:     I think I've answered that

     25          question.


                                                    MO



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      1          Q.    (By Ms. Lowry)      I'd like you to please

      2    answer it again.

      3                MS. RACHAL:      Objection.      You can answer.

      4                THE WITNESS:      I mean, my choosing leave

      5          was a professional and personal decision.                 It

      6          was -- it was not -- I did not leave because

      7          of the agency, itself.         It was the best -- it

      8          was in my best interest and my family's best

      9          interest, at that point, for me to leave.

     10          Q.    (By Ms. Lowry)      Did you have another job

     11    offer at the time you left?

     12          A.    No, not at that time, but I was not

     13    concerned.    I felt that there would be other

     14    opportunities.

     15          Q.    Prior to Commissioner Dickinson coming

     16    into the agency, you had planned to stay for a

     17    couple of years, though, is that right?

     18          A.    I had always intended to stay at least

     19    for 28 years, and which is what I did.                There

     20    are -- there are specific financial incentives to

     21    the retirement if you have at least 28 years in

     22    State service, and so that was the first -- that

     23    was the threshold that I was trying to reach.

     24                 At that time, I was traveling to Jackson

     25    every week away from my family and gone throughout




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      1    the week, and it became a situation where it was

      2    best for me to -- financially, it was best, and

      3    personally, it was best for me to go ahead and

      4    retire.

      5          Q.     But you had not planned that before

      6    Commissioner Dickinson came to the agency?

      7                 MS. RACHAL:       Object to form.

      8                 THE WITNESS:       I did not, no.          I mean, it

      9          was an option, but I didn't plan to.                I

     10          didn't plan not to.          So --

     11          Q.     (By Ms. Lowry)        And the Commissioner --

     12    and were you receiving a -- a -- when you were

     13    traveling to Jackson, did you have a place to

     14    stay?

     15          A.      Yes, I rented a room from someone.

     16          Q.     And did Commissioner Dickinson notify

     17    you that the agency would -- well, I'll withdraw

     18    that.      Was the agency paying for you to rent the

     19    room?

     20            A.    No, they were not paying for that.

     21            Q.    You were paying for it yourself?

     22            A.    Yes.

     23            Q.    So Commissioner Dickinson did not change

     24    the arrangement for the payment of your housing?

     25            A.    No.




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